       Case 1:23-mi-99999-UNA Document 2282-3 Filed 07/19/23 Page 1 of 3




July 17, 2023

CERTIFIED MAIL-RETURNS RECEIPT REQUESTED
9589071052700161899847


Robyn Roth
Fain, Major, & Brennan, P.C.
5605 Glenridge Drive
Suite 900
Atlanta, GA 30342

       Re:      Ronald Wright v. Sanchez Arredondo & Cobra Carrier, LLC
                Clayton County Superior Court; Civil Action No: 2023CV00526

Ms. Roth,

        No prior offers of settlement and compromise currently exist because they have either
expired, been rejected, or been withdrawn; nevertheless, if you contend that any offers of
compromise remain outstanding, all prior offers are hereby rejected and/or withdrawn. This letter
is written to establish a claim for prejudgment interest pursuant to the Georgia Unliquidated
Damages Interest Act, O.C.G.A. § 51-12-14. We hereby demand payment of One Million Dollars
($1,000,000.00) in compromise of the above-referenced case. In exchange for $1,000,000.00,
Ronald Wright will dismiss the above-referenced case with prejudice. Pursuant to the provisions
of O.C.G.A. § 51-12-14, if you do not pay this amount within thirty (30) days following the date
of the mailing of this notice, Ronald Wright will be entitled to receive interest on the sum claimed
if, upon the trial of this case, she receives a judgment in an amount not less than the sum
demanded. Interest will be computed at a rate of prime plus 3% per annum and will begin to accrue
from the 30th day following the date of the mailing of this notice. This offer of settlement will
remain open until 5:00 p.m., August 16, 2023.

        Pursuant to the requirements of O.C.G.A. § 51-12-14, we have sent this demand directly
to you, as the attorney for Sanchez Arredondo and Cobra Carrier, LLC. If you object to receiving
this notice and demand on behalf of your client, please let me know immediately so that I may
send this notice and demand directly to your client.

        We have previously supplied you with information necessary to evaluate this demand for
compromise; however, should you have any questions regarding this demand for compromise,
please do not hesitate to contact me at (770) 576-7634.



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          Case 1:23-mi-99999-UNA Document 2282-3 Filed 07/19/23 Page 2 of 3




Of course, this letter is written in furtherance of settlement and compromise, and nothing contained
herein shall be deemed admissible except to enforce a claim for prejudgment interest. I have
included our verdict magazine to share with your client.

FUTURE MEDICAL TREATMENT:

       Given the nature of his injuries and the amount of pain that he continues to suffer, it is
medically certain that Ronald Wright will require additional medical treatment in the future to
mitigate his injuries. United Neurology has opined within a reasonable degree of medical
probability and/or certainty that Ronald Wright’s TBI is directly related to the crash of
01/30/2023. See enclosed medical records and procedure estimates for your review.

        As previously mentioned, Ronald Wright suffered from a concussion. Not only was Mr.
Wright subject to headaches, nausea, depression, anxiety, fatigue and blurry vision, studies show
that being diagnosed with post-concussive syndrome can lead to problems later on in life such as
Alzheimer’s Disease, Parkinson Disease, chronic traumatic encephalopathy (CTE) and motor
neuron disease.1 One study found that “brain injury without loss of consciousness was
associated with more than a 2-fold increase in the risk of dementia diagnosis, even after
adjusting for medical and psychiatric comorbidities.” 2 Further, it has been established that
even well-recovered individuals who have suffered such trauma continued to demonstrate relevant
sequelae more than a decade later. This injury has significant, long-term implications for Mr.
Wright everyday social and professional life. Due to the negligence of the hit and run driver,
Matthew Fraser no longer enjoys a normal, pain free life. Therefore, Ronald Wright is pursuing
both economic and non-economic damages.

ECONOMIC DAMAGES:

           Provider                                                                                 Amount
           Atlanta Spine Institute                                                                  $5,951.60
           American Health Imaging                                                                  $4,595.00
           Benchmark                                                                                $3,514.00
           TBI Diagnostic Centers of GA                                                             $3,237.47
           United Neurology                                                                         $21,012.00
           Future Medicals                                                                          $TBD

                                                                                        Total: $39,410.00


1
 Daneshvar, Daniel H et al. “Long-term consequences: effects on normal development profile after concussion.” Physical medicine and
rehabilitation clinics of North America vol. 22,4 (2011): 683-700, ix. doi:10.1016/j.pmr.2011.08.009

2 Barnes, Deborah E. et. al.” Association of Mild Traumatic Brain Injury with and without Loss of Consciousness with Dementia in US Military

Veterans” JAMA Neurol. 2018;75(9):1055-1061. doi:10.1001/jamaneurol.2018.0815




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      Case 1:23-mi-99999-UNA Document 2282-3 Filed 07/19/23 Page 3 of 3




                                                        Sincerely,

                                                        Edward J. Hardrick
                                                        Edward J. Hardrick, Esq.
                                                        Attorney for Plaintiff
                                                        ehardrick@forthepeople.com

Verdict Magazine Link:
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EJH/lr/aj
Enclosure




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